Case 1:18-cv-00825-CMH-MSN Document 54 Filed 11/15/18 Page 1 of 15 PageID# 475




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA


                            Alexandria Division




 KENNETH HENDERSON,

       Plaintiff,

 V,                                   Civil Action No. l:18-cv-825


 FAIRFAX-FALLS CHURCH
 COMMNITY SERVICE BOARD,
 et al.,

       Defendants.




                            MEMORANDUM OPINION


       THIS MATTER comes before the Court on Defendants Fairfax-


 Falls Church Community Service Board ("FFCCSB"), Fairfax County

 Government {"FCG"), and Inova Health System's ("Inova")

 (collectively "Defendants") Motions to Dismiss Plaintiff's

 Complaint pursuant to Federal Rules of Civil Procedure 12(b)(1),

 12(b) (2), and 12(b)(6).

       Plaintiff is a forty-six-year-old, African-American man who

 suffers from osteoporosis in his hips and sleep apnea. Plaintiff

 alleges that he was a substance abuse counselor for FCG before

 that function was given to FFCCSB, and then subsequently for

 FFCCSB. Plaintiff alleges that during his employment, FFCCSB

 underwent budget cuts and Inova was to hire many of its

 employees as part of the 2014 Merrifield Land Agreement ("MLA").
Case 1:18-cv-00825-CMH-MSN Document 54 Filed 11/15/18 Page 2 of 15 PageID# 476
Case 1:18-cv-00825-CMH-MSN Document 54 Filed 11/15/18 Page 3 of 15 PageID# 477
Case 1:18-cv-00825-CMH-MSN Document 54 Filed 11/15/18 Page 4 of 15 PageID# 478
Case 1:18-cv-00825-CMH-MSN Document 54 Filed 11/15/18 Page 5 of 15 PageID# 479
Case 1:18-cv-00825-CMH-MSN Document 54 Filed 11/15/18 Page 6 of 15 PageID# 480
Case 1:18-cv-00825-CMH-MSN Document 54 Filed 11/15/18 Page 7 of 15 PageID# 481
Case 1:18-cv-00825-CMH-MSN Document 54 Filed 11/15/18 Page 8 of 15 PageID# 482
Case 1:18-cv-00825-CMH-MSN Document 54 Filed 11/15/18 Page 9 of 15 PageID# 483
Case 1:18-cv-00825-CMH-MSN Document 54 Filed 11/15/18 Page 10 of 15 PageID# 484
Case 1:18-cv-00825-CMH-MSN Document 54 Filed 11/15/18 Page 11 of 15 PageID# 485
Case 1:18-cv-00825-CMH-MSN Document 54 Filed 11/15/18 Page 12 of 15 PageID# 486
Case 1:18-cv-00825-CMH-MSN Document 54 Filed 11/15/18 Page 13 of 15 PageID# 487
Case 1:18-cv-00825-CMH-MSN Document 54 Filed 11/15/18 Page 14 of 15 PageID# 488
Case 1:18-cv-00825-CMH-MSN Document 54 Filed 11/15/18 Page 15 of 15 PageID# 489
